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Case 3:18-CV-02189-~B-BH Document 2 Filed 038/20/18 Page 1 of 20 Page|D 3

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Case 3:18-CV-O2189-B-BH Document 2 Filed 08/20/18 Page 3 of 20 Page|D 5

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DEFENDANT; Rlco Du;§jes _ l " s1D- TX 16807807 B/M 08/26/1979
CHARGE PossEssIoN oF A CoNri;oLLED sUBsTANCE WITH INTENT To DELI\/ER
_,, ;___ ART: L)§_i;_ ) sEC; 431_112 CoDE: HEALTH AND sAFETY
Co-DEFENDANT; NoNE wARRANr No: CPD18-054F
wITNEss; M.wALL ' CoNrRoL No; 18-06424
TRUE BILL oF INDICTMENT

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS

 

impaneled and sworn as such, at the<ahi;y;'l`errn A. D 2018 of the District Court of the 16th Judicial

 

District in and for said county and state, upon their oaths, present in and to said Court that RICO

DUKES, who is hereinafter styled defendant, on or about th ‘ 9th day of February, 2018 nd anterior to

the presentment of this lndictment, in the county and state aforesaid, did then and there knowingly
possess with intent to deliver a controlled substance, to-wit: cocaine, in an amount of one (l) gram or

more but less than four (4) grams by aggregate weight including any adulterants or dilutants;

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against the peace and dignity of the State_ \*:\»-~~_»WW… K…M w
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Forernan of the Grand Jury

 

 

PAUL JOHNSON
CRIMINAL DISTRICT ATTORNEY OF
DENTON COUNTY, TEXAS

 

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8/20/2018 » Texas Government Code 24.117 -16‘|_'h Judicia| District (Denton County)LawServer
Case 3:18-cV-O2189-B-BH Document 2 Fl|ed 08/20/18 Page 6 of 20 Page|D 8

Law SEK\ZER

Are year an attorne\.’? Acld your pre§i§e
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“E“exas Codes > Government Code > T§tle 2 > Subtitle A > Chapter 24 > Subchapter B > § 24.117

TeXas Governrnent Code 24.117 - 16Th ]udicial District
(Denton County)

55"»€3'§ §)§“z ama

   

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(a) The 16thjudicia| District is composed of Denton County.

(b) The terms of the 16th District Court begin on the first Mondays in january and july of each

 

 

Suhc?zapter 13 C<)ntents

 

Ask a question

Subiect

 

 

https://www.lawserver.com/|aw/state/texas/tx-codes/texas_government_code_24-117 1/4

 

 

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8/8'2°18 ease 3:18-cv-0213d-“§F§WG"H‘B%“J%C§H/tpzb"°i§°ii§$ci°o;éC/Zsce)?it§i"as X§Ca§e'?°=zf548157

 
 
    
 

  
  

         

      

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REGISTER oF ACTIoNs
CASE No. F18-1823-211

The State of Texas vs Rico Dukes Case Type: Fe|ony by indictment

Date Filed: 06I29l2018
Location: 211th Judicial District Court
Judicial Ocher: Shanklin, Brody
Case Number History: FMC13-1101

60'>(01<0')¢0)(0>¢0')¢0>

 

PART¥ INFoRMAnoN

Lead Attomeys
Defendant Dukes, Rico Mick Meyer
Court Appointed
103 S Woodrow Ln.
1109 HarVeSt Glef`l Di' Suite 1

P|ano, TX 75023 Denton, TX 76205

940-320-0303(W)
940-320-0305(F)

State of Texas State Of Texas

 

CHARGE lNFoRMA'uoN

Charges: Dukes, Rico Statute Leve| Date
2. Lesser included Possession of a Contro||ed Substance 481 .115(c) HSC 3rd Degree Fe|ony 02/09/2018

 

E\/EN'i's & ORnERs oF rim Coulu‘
DISPOSITIONS

08/01/2018 P|ea (Judicia| Ofticer: Shank|in, Brody)
2. Lesser included Possession of a Contro||ed Substance
Gui|ty

08/01/2018 Disposition (Judicia| Officer: Shanklin, Brody)
2. Lesser included Possession of a Contro||ed Substance
Deferred

08/01/2018 Sentence (Judiciai Officer: Shanklin, Brody)
2. Lesser included Possession of a Contro||ed Substance
CSCD 5 Years with Community Service of 180 Hours

OTHER EVEN'I`S AND HEARINGS

02/10/2018 Bond

$7,500.00 .

04/02/2018 Affidavit Pursuant to Article 17.16 l 17.19 of the CCP

04/04/2018 Order for Artic|e 17.16 or 17.19 Warrant/Capias (Judiciai thcer: Ramsay, Robin )
04/06/2018 Capias issued (Pre-Indictment: Surrender of Princip|e)

04/16/2018 Finding Regarding indigence and Order Appointing Counse| (Judiciai Ofticer; Shipman, Sherry )
Appointed: Eaton, John Heber|ing

04/17/2018 Application for Court Appointed Attorney & Financial Affid.

Party: Dukes, Rico

04/18/2018 Capias returned

Executed

04/19/2018 Motion to Set Bai| or Bond

04/20/2018 Order Setting Bond (Judiciai Officer: Burgess, Steve )

05/24/2018 Motion for Withdrawa|lSubstitution of CounsellAttorney

Party: Eaton, John Heber|ing

WB§”@y`Z:_ Dukes, Rico

05/30/20§ Motion mm

to Dismiss-Fai/ure to Provide Speedy Trial /)

06/04/2018 Motion to s Counsel (1:30 PM) (Judiciai Officer Shipman, Sherry)

06/04/2018 Judicial Docket Entry (Judicia| Oft'lcer: Shipman, Sherry)
Defendant appeared; defense attorney allowed to withdraw,' Defendant is representing himself in this matter going fon/vard - SLS/MN
06/05/2018 Order (Judicia| Officer: Shipman, Sherry )
Upon Defense Attomey's Motion to Withdraw
06/05/2018 Courts' notice of setting
Sent to: Dukes, Rico
06/12/2018 Attorney Fees Expense Claim FormlOrder Authorizing Payment (Judicial Officer: Shipman, Sherry)

,L,_` \\ \..` Copy of payment order sent to County Auditor by interoffice mai/.

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06/29/201 True Binoflndicr[p§ptl*(o§£)m,,/

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07/02/2018 CapiaslPrecept issued

07/02/2018 Precept

Dukes, Rico Served 07/03/2018
Returned 07/06/2018

07/02/2018 Order Transferring to the 211th Judicial District Court

07/04/2018 Defendant's Acknowledgement of A|leged Offenses/Rights/Bonds

07/06/2018 Finding Regarding indigence and Order Appointing Counse| (Judiciai Ofticer: Shanklin, Brody )

Appointed: Goodwin, Stan|ey

07/06/2018 CapiaslPrecept Returned Executed

07/09/2018 Application for Court Appointed Attorney & Financial Affid.

Party: Dukes, Rico

07/10/2018 Finding Regarding indigence and Order Appointing Counsel (Judicia| Ofticer': Shanklin, Brody)

Appointed: Meyer, Mick

07/12/2018 Application for Court Appointed Attorney & Financial Affid.

Part : Dukes Rico 7
~' 07/16/2018‘ Krraignment hearm udicial Oft”lcer Shanklin, Brod&,~

" “""< Result: Hegring He|d n -./
07/16/2018 ourt Setting l Plea Bargain Data / Continuance Data

07/19/2018 Attorney Fees Expense Claim FormlOrder Authorizing Payment (Judicia| Officer: Shanklin, Brody)
1 Co of payment order sent to County Audltor by interoffice mail.
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07/24/201 Motion to Quash

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07/25/2018 App|ication for Court Appointed Attorney & Financial Affid.

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07/30/201 Letter from Defendant

/'___':2’", d e Shanklin (_Emailed to State and Defense Al,'t;)rrney)/v

§ 08/01 Plea Hearmg 18 30 AM) (Judiciai OFticer Shanklin, Brody)
/-`_`.B__§giLHeaung.Held___~Sww_, * ~ ~

' Q8/01/2018 Qrger of Deferred Adiggi gat'|gn_l.lud giai Officer: Shanklin, Brodyb

08/'0`1/2018 Bi|| of Costs signed by Defendant
08/01/2018 Plea Documents
Plea Bargain Agreement, Waiver of Jury-Fe/ony Plea of Guilty, /nd/'ctment//nformation, Court's Admonition of rStatutory and Constitutional Rights
and Defendant's A
`|’Fi§l'CouFt"s Certification of Defendant's Right of Appea|
08/01/2018 Discovery Stipulation
08/01/2018 Attorney Fees Expense Claim FormlOrder Authorizing Payment (Judicia| Officer: Shanklin, Brody )
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FNANCIAL lNFnRM.\TmN

Defendant Dukes, Rico

Tota| Financial Assessment 1,499.75
Totai Payments and Credits 0.00
Ba|ance Due as of 08/08/2018 1,499.75
07/11/2018 Transaction Assessment 161 .75
07/30/2018 Transaction Assessment 20.00
08/01/2018 Transaction Assessment 1,000.00
08/01/2018 Transaction Assessment 318.00

 

http:/ljustice1 .dentoncounty.com/Pub|icAccessDC/CaseDetai|.aspx?CaseiD=2548157 2/2

 

 

Case 3:18-cv-02189-B-BH Document 2 Filed 08/20/18 Page 9 of 20 Page|D 11

 
   
  

DESIGNATED JUR'!’ WEEKS FOR 2018

THE FOLLOWING WEEKS HAVE BEEN DESIGNATED AS JURY WEEKS FO§§(7 'E`HE `
` JANUARY 2018: 1

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JANUARY 08, 2018

JANUARY ]5, 2018

jANUARY 22, 2018 ,`
JANUARY 29, 2018 \

THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS NON - JURY WEEK(S) FOR TH
.EANUARY 2018:

 

JANUARY Oi, 2018

THE FOLLOW]NG WEEKS HAVE BEEN DESIGNATED AS JURY WEEKS FOR THE MONTH OF
FEBRUARY 2018:

FEBRUARY 05, 2018
FBBRUARY 12, 2018
PEBRUARY 19, 2018
FBBRUARY 26, 2018

THE FOLLOWING WEE'K(S} HAS BE`.EN DESIGNATED AS NON - JURY WEEK(S) FOR THE MONTH OF
FEBRUARY 2013:

 

THE FOLLOWYNG WEEKS HAVE BBEN DESIGNATED AS JURY WEEKS FOR THE MONTH OF
MARCH 2018:

MARCH 05, 2018
MARCH 12, 2018 (COUNTY COURTS ONLY)
MARCH 19, 2018
MARCH 26, 2018

THE FOLLOW!NG WEBK(S) HAS BEEN DESlGNATED AS NON -JURY WEEK(S) FOR THE MONTH OP
MARCH 2018:

 

MARCH i2, 2018 (DISTRECT COURTS ONLY)

THE FOLLOWING WEEKS HAV.E BEEN DES]GNATED AS JURY WEEKS FOR THE MON'I`H OF
APRIL 2018:

APRIL 02, 2018
APRIL 09, 2018
APRIL 16, 2018
APRIL 23, 2018
APRlL 30, 2018

Case 3:18-cv-O2189-B-BH Document 2 Filed 08/20/18 Page 10 of 20 Page|D 12

'I`HE FOLLOWING WEEK{S) HAS B`EEN DESIGNATED AS NGN ~JIIRY WEEK(S) FOR THE MONTH OF
APRIL 201 81

 

'I`HE FOLLOWFNG WEEKS HAVE BEEN DESIGNATED AS JURY WEEKS POR THE MONTH OF
MAY 2018:

MAY 14, 2018
MAY21,2018
MAYZS, 2018

THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS N(}N ~»~ JURY WEEK(S) FOR THE MONTH CIF
MAY 2018:

 

MAY 07, 2018

 

 

f ,,,,, /'VzWFOl"L?)'§~/TNG wEEKS HAVE BEEN DESIGNATED As JURY WEEKS FOR 1sz MONTH 011 ' ~\
/ FUNE 2018; 1 `

.1UNE 04, 2018
JUNE 11, 2018
,JUNE 18, 2018
JUNE 25, 2018 /

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drl__,.»~___~y__,.,_,w..~¢~ “”‘°\`___M,,."M-.v,.»-» ._________'_`__»_“ w V_A _,»_,_‘__Mm w».»»~

THE FOLLOWING WEEK(S) HAS BEEN BESIGNATED AS NQN w JURY WEEK(S) FOR THE MONTH OF
JUNE 2018;

 

 

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THE FOL.LOWING WEEKS HAVE BEEN DESIGNATED AS JURY WEEKS FOR THE MONTH OP \\_\
JULY 2018: ’v_

JULY 09, 2018 »,
JULY 16, 2013
JULY 23, 2018 -~

JULY 30, 2013

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THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS NON - JURY WEEK{S) F()R THE MONTH OF
JULY 2018:

 

JULY 02, 2018

THE FOLLOWING WEEKS HAVE BEEN DESIGNATED AS IURY WEEKS FOR THE MONTH OF
AUGUST 2018:

AUGUST 06, 2018
AUGUS'I` 13, 2018
AUGUST 20, 2018
AUGUST 27, 2018

 

 

 

Case 3:18-cv-02189-B-BH Document 2 Filed 08/20/18 Page 11 of 20 Page|D 13

THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS N{)§‘v’ ~» .}URY WEEK(S) FOR THE MONTH OF
AUG'UST 2018;

 

THE FOLLOWING WEEKS HAVE BEEN DESIGNATED AS JURY WEEKS FOR THE MONTH OF
SEPTEMBER 201 81

SEPTEMBER 10, 2018
SEPTEMBER 1?, 2018
SEPTEMBER 24, 2018

'I`HE POLLOWING WEEK(S) HAS BEEN DES{GNATED AS NON - JURY WEEK(S) FOR THE MONTH OF
SEPTEMBER 2018;

 

SEPTEMBER 03, 2018

THE FGLLOWING WEEKS HAVE BEEN DESIGNATED AS JURY WEBKS FOR T`HE MONTH OF
OCTOBER 2018:

GCTOBER 01 , 2018
OCTOBER 08, 2018
OCTOBER 15, 2018
OCTOBER 22, 2018
OC'I`OBER 29, 2018

THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS NON - JURY WEBK(S) FOR THE MC)NTH OF
OCTOBER 2018:

 

THE FOLLOWING WEEKS HAVE BEEN DES]GNATED AS JURY WEEKS F()R THE MQNTH OF
NCVEMBER 2018:

NOVEMBER 053 2018
NOVEMBER 12, 2018
NOVEMBER 26, 2018

THE FOLLOWING WEEK(S) HAS BEEN DESIGNATED AS NON ~" JURY WEEK(S) FOR THE MONTH OF
NOVEMBER 2018:

 

NOVEMBER 19, 2018

THE FOLLOWlNG WEEKS HAVE BEEN DESIGNATED AS FUR\’ WEEKS FOR '1`1-113 MONTH OF
DECEMBER 2018:

DECEMBER 03, 2018
DECEMBER 10, 2018
DECEMBER 17, 2018 (COUNTY COURTS ONLY)

 

Case 3:18-cv-02189-B-BH Document 2 Filed 08/20/18 Page 12 of 20 Page|D 14

THB FOLI..OWING WEEK(S) HAS BEEN DESIGNATED AS NON - JURY WEEK(S) FGR THE MONTH OF
DECEMBER 2018:

DECEMBER 17, 2018 (DISTRICT COURTS ONLY)
DECEMBER 24, 2018 (DIS'I`RECT COURTS) 1
DECEMBER 31, 2018 (DISTR§C’§q COURTS)

 

 

   

  
  

    

SIGNED mls THE 3)51; DAY oF M 01 1/ , 2017,

 

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8/8/2018 cage 3;13-cv-02139-B-BH Do'é`€fn 'C'"‘ 11182“"1=211308°1111)?2'0/€1'§€"1°15'§§8“13 0120 PagelD 15

https ://www. dentonrc. com/news/crlme/indictments iune/article_ 53fb2ece- 950a- 5ec9- acdS- e4d03b4208db. html

‘“"____..m..~._,. .… »A

|ndictments: ]une 28, 2018

   
 
 

Iul 1, 2018

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The following people were indicted by a Denton County grand jury on Thursday at
the Denton County Courts Building. Listed are those indicted, their age (at date of
indictment), charges and the law enforcement agency that made the arrest:

Maxirnillian Morones IV, 20, two counts of sexual assault, University of North Texas
police

Paul Parker, 28, assault family Violence, Denton police

 

Kaitlyn Iuarez, 23, possession of a controlled substance with intent to deliver,
Carrollton police

Terry Hernandez, 24, possession of a controlled substance with intent to deliver,
Carrollton police

Cameron Lister, 22, two counts of assault against public servant, Carrollton police

]esus Osuna, 32, possession of a controlled substance with intent to deliver,
Carrollton police

https://www.dentonrc.com/news/crime/indictments-june/artic|e_53fb2ece-950a-5e09-acd8-e4003b4208c1b.htm| 1/5

 

 

8/8’2018 ease szls-cv-ozlsQ-B-E_;H Do11`31‘111“`§111:2“"T£Fé§?§éfé‘d?f§e"t°§§§%"14 0120 P_agelD 16
l\/lorgan Babin, 32, possession of a controlled substance, Carrollton police; robbery,

Lewisville police
l\/Iichael Tallman, 20, three counts of sexual assault, Denton police
Sara Chufar, 3(), assault against emergency services personnel, Denton police

Brandy Davis, 39, four counts of possession of a controlled substance by fraud,
Denton police

]oe Davis, 47, burglary of a building, Denton police

Pamela Stokes a.l<.a. Pamela Woods, 42, theft, possession of a controlled substance,
unauthorized use of a Vehicle, Denton police; tampering with or fabricating physical
evidence, University of North Texas police

Cory l\/IcAllister, 22, burglary of a habitation, Denton police

Lermont Stowers-]ones, 17, burglary of a habitation, Denton police
Robert Winters, 17, burglary of a habitation, Denton police

Christy Turner, 35, possession of a controlled substance, Denton police
l\/Iichael Gonzales, 59, possession of a controlled substance, Denton police
Chad Syphrett, 34, three counts of sexual assault, Aubrey police
Christopher Hermann, 33, escape, Denton County Sheriff’s Office

Nathaniel Bresci, 40, possession of a controlled substance, fraudulent use or
possession of identifying information, Flower Mound police

Austin Delamarter, 22, possession of a controlled substance, three counts of
possession of a controlled substance with intent to deliver, Flower Mound police

https://www.dentonrc.com/news/crime/indictments-june/article_53fb2ece-9503-5ecQ-acd8-e4d03b4208db.htm| 2/5

 

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. 8/8/2018 ease 3:13--0\/-02-139 B- BH 063‘11111`§'1112""€1=211@28)13§12371(§em0npr§§g 1 0120Pa?1%1€ 17

Wyatt Hagerty, 25, assault against public servant, possession 0 a controe
substance, Flower Mound police

]eremy Lang, 40, two counts of possession of a controlled substance, Flower Mound
police

]uan Lopez, 58, possession of a controlled substance, Flower Mound police

l\/Iichael l\/lartinez, 58, assault against public servant, Flower Mound police

 

Robert Stewart, 19, two counts of possession of a controlled substance, possession
of a controlled substance with intent to deliver, Flower Mound police

William Blum Sr., 60, possession of a controlled substance with intent to deliver,
The Colony police

William Blum II, 52, possession of a controlled substance, The Colony police
Lacey Boothe, 23, possession of a controlled substance, The Colony police
]eremy Forbes, 31, theft, The Colony police

Austin Sena, 32, three counts of possession of a controlled substance, The Colony
police

Hannah Turner, 23, possession of a controlled substance, The Colony police

Thomas Willingham, 42, evading arrest, burglary of a habitation, The Colony police;
abandoning a child, Little Elm police

El<ene Eche, 18, two counts of sexual assault, University of North Texas police
Angel Hernandez, 18, robbery, Lewisville police
William Scott, 19, harassment of public servant, three counts of retaliation,

Lewisville police

https://www.dentonrc.com/news/crime/indictments-june/artic|e_53fb2ece-950a-5e09-acd8-e4d03b4208db.html 3/5

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8/8/2018 |ndictments: June 8, §018§ Crime |dentonrc.com
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_ Case 3:18-cv-02189-|?3-BH Document 2 _ Fl /20/18 Page 1_6 of 20 _Page|D 18
Clinton Dart, 47, possession of a controlled substance, Lewisville police

 

Oscar Enriquez, 23, possession of a controlled substance with intent to deliver,
Lewisville police

]andro Enriquez, 19, three counts of possession of a controlled substance with
intent to deliver, possession of marijuana, Lewisville police

Tytianna lohnson, 21, credit card abuse, Lewisville police
loeanna Thompson, 42, credit card abuse, Lewisville police

Kevin lohnson, 19, credit card abuse, possession of a controlled substance,
Lewisville police

]ohn Lindsey, 53, possession of a controlled substance, Lewisville police

]ohn Nelson ]r., 24, possession of a controlled substance, Lewisville police

Deunte Williams, 27, criminal mischief, Lewisville police

Dwight Goldy, 48, unauthorized use of a vehicle, Argyle police

Derek Wilkinson, 34, unlawful possession of Hrearm, Denton County Sheriff’s Oche

Esteban Garcia-Fonseca, 26, accident involving personal injury, Frisco police

https://www.dentonrc.com/news/crime/indictments-june/artic|e_53fb2ece-950a-5e09-acd8-e4d03b4208db.htm| 4/5

 

   
   

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8/8/2018 ease 3:1s-cv-02139-B-BH 00151111111§3111`2]“"1&1119€101131215‘/11'§9"“15'@‘1§%%7 0120 PagelD 19
]ennifer Rosso, 44, possession of a controlled substance, Corinth police

Tomrny Houcl<, 42, driving while intoxicated, Krum police

Carlos Roberson, 47, driving while intoxicated, Lewisville police
Rachael Stanley, 28, driving while intoxicated, Lewisville police

Todd Taylor, 47, driving while intoxicated, Lewisville police

Bryan Borghesi, 44, possession of a controlled substance, Prosper police

Ryan Dixon, 42, evading arrest, Sanger police

 

https://www.dentonrc.com/news/crime/indictments-june/artic|e_53fb2ece-9503-5ecQ-acd8-e4d03b4208db.htm|

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By: Anthony P'laitx 13aqu

FMc1a-1101F/LF5
56 FG/q
Cause No. NTQN¢C o¢/RECgRo
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STATE OF TEXAS, In the Judicial JUN 2 5 2016 ER/l'
,L
vs. District Court of LEU/(

RICO DUKES Denton County, Texas

 

DEFENSE ATTORNEY’S MOTION TO WTHDR`AW
TO THE HONORABLE JUDGE OF SAID COURT:

JOHN H. EATON, appointed lawyer for Rico Dukes, moves for an order
withdrawing the undersigned in above unindicted cause and respectfully avers:

On April 16, 2018, the undersigned was appointed to represent the
Defendant on an unindicted charge of Possession of a Controlled Substance Equal
to or More than One Grarn, but Less than Four Grarns, without bail under warrant
number FMCIS-l 101. On April 19, 2018, the undersigned filed a Motion to Set
Bail and the same was ordered and set a $5,000.00 on April 20, 2018.

On April 25, 2018, the undersigned was appointed to represent the
Defendant on misdemeanor charges of Cn'rninal Trespass and Possession of
Marijuana Less than 2 Ounces, under cause numbers CR-2017~07913 and CR-
2018-01734, respectively, both in County Criininal Court No. 3.

On April 26, 2018, the undersigned filed a Motion for Surety Bond in Cause
No. CR-2017-07913-C. According to the Denton County Jail booking records, the
Defendant had a surety bond on the Possession of Marijuana charge, but a cash
bond was placed on the Criminal Trespass charge The reason for the cash bond
was a prior failure to appear. The purpose of this motion was to secure a surety
bond to give the Defendant a chance to bail out of jail. (The Defendant had been
booked in Denton County on April 17, 2018 and would have been eligible for PR
release or lowered bail under Article 17 .151 on April 31, 2018. However, the
Defendant wanted the motion for surety bond filed immediately, and the
undersigned did so.

 

 

 

 

`Case 3:18-cv-02189-B-BH Document 2 Filed 08/20/18 Page 19 of 20 Page|D 21

On April 27 , 2018, the undersigned met the Defendant in jail for the third
time to report on the progress of the court filings After discussion, the
undersigned and the Defendant were unable to reach an agreement how to best
advance the defense. More particularly, Mr. Dukes insisted that the undersigned
e-file a handwritten WMMMUMM
charges The undersigned dec ine o immediately file the motion but offered to
research the issue to determine its merit. Mr. Dukes then advised that the
undersigned was “fired,” took his paperwork and left the interview.

On M,ay l6, 2018, the undersigned filed a Motion to Withdraw in both
misdemeanor cases. The Motion for Surety Bond in CR-2017-07913-C had been
set for a contested hearing on May 22, 2018, at 3215 PM before the Honorable
David Garcia, and the Motion to Withdraw in Cause Nurnbers CR-2017~079l3 C
and CR-2018-01734-C was later added to the docket However, upon appearance

by the undersigned, both matters were transferred to another court b it
reported that the Defen_d_ant had filed litigation in Fedwl §§o og;t implying or

invoking a judicial conflict or the appearance of a conflict Judge Garcia correctly
instructed the undersigned to file the Motion to Withdraw in District Court under
the unindicted charge, which motion, if granted, would effectuate an automatic
removal from the misdemeanor cases. The motion now before the Court followed

ln support of this motion, the undersigned shows that Rule l.15 of the Rules
of Professional Conduct require:

“(a) A lawyer shall decline to represent a client or, where representation has
commenced, shall withdraw, except as stated in paragraph (c), from the
representation of a client, if:

“(3) the lawyer is discharged, with or without good cause.

“(c) When ordered to do so by a tribunal, a lawyer shall continue
representation notwithstanding good cause for terminating the representation”

The undersigned has lost authority to represent Mr. Dukes, and even if that
authority were restored by order of the Court, the undersigned does not believe
that he could provide effective representation There is an irresolvable conflict
between Mr. Dukes and the undersigned on the nature of an attorney/client
relationship and the duties imposed upon each by that relationship Further, Mr.
Dukes has expressed a desire to represent himself

 

 

, Case 3:18-cv-O2189-B-BH Document.2 Filed 08/20/18 Page 20 of 20 Page|D 22

WHEREFORE, the undersigned requests an order to Withdraw from
representation of the Defendant and for such further, additional relief as may be
appropriate in the premises

Respectfully submitted this 24th day of May 2018

/Jo{tgrw_““. Eat .n/
ide H.~'Eaton

903 North Elm Street
Denton, Texas 7 6209
eatonlaw@hotmail.corn
Office-940-597-7283
FAX-940-497-0702

CERTIFICATE ()F SERVICE

A true and correct copy of the above and foregoing was served upon Rico
Dukes, by deposit in the US Mail, with postage prepaid, addressed to Rico Dukes,
Denton County Jail, SO # 211744, 127 North Woodrow Lane, Denton, Texas
76205, on the 24th day of May 2018.

/John H. Eaton/
John H. Eaton

